AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                      Mollie Piron et al.                      )
                             Plaintiff                         )
                                v.                             )      Case No.     3:19-cv-00709-REP
    General Dynamics Information Technology, Inc.              )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant General Dynamics Information Technology, Inc.                                                      .


Date:          01/04/2022                                                                /s/ Fiona R. Moran
                                                                                         Attorney’s signature


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